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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 KAREN GRACE,

                 Plaintiff,
                                                  Case No: 4:21-cv-623
         v.

 CLUB FITNESS, INC.,

                 Defendant.

              PLAINTIFF’S VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        COMES NOW Plaintiff, by and through her undersigned counsel, and hereby voluntarily

dismisses her claims and causes of action against Defendant without prejudice and at Plaintiff’s

cost.


                                             By: /s/ John F. Garvey
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                                                *Motions for Admission to be filed

                                            Attorneys for Plaintiff and the Proposed Class


                                 CERTIFICATE OF FILING

        The undersigned hereby certifies that the foregoing Voluntary Dismissal has been filed
using the Court's electronic case filing system on this 7th day of June, 2021.

                                                    /s/ John F. Garvey
